    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 1 of 9 Page ID #:1



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     7 Attorneys for Plaintiff,
       GEORGE GUTENBERG
     8
     9
                           UNITED STATES DISTRICT COURT
    10                    CENTRAL DISTRICT OF CALIFORNIA
    11
         GEORGE GUTENBERG,                      Case No. ____________________
    12
    13                         Plaintiff,
                                                COMPLAINT FOR DAMAGES AND
    14                                          INJUNCTIVE RELIEF
         v.
    15
         ZILLOW INC., a Washington
    16   corporation; ZILLOW GROUP INC., a
    17   Washington corporation; and DOES 1
         through 25 inclusive,
    18
    19                         Defendant.

    20
    21
    22         Plaintiff GEORGE GUTENBERG for his complaint against ZILLOW INC.

    23   and ZILLOW GROUP INC. alleges as follows:
    24
                                  JURISDICTION AND VENUE
    25
               1.    This is a civil action seeking damages and injunctive relief for
    26
    27   copyright infringement under the Copyright Act of the United States 17 U.S.C.
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 2 of 9 Page ID #:2



     1   § 101 et seq.
     2
               2.        This Court has subject matter jurisdiction over Plaintiff’s claims for
     3
         copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
     4
     5         3.        This court has personal jurisdiction over Defendants because
     6   Defendants conduct business and/or reside within the State of California,
     7
         Defendants’ acts of infringement complained of herein occurred in the State of
     8
     9   California, and Defendants caused injury to Plaintiff within the State of California.

    10         4.        Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
    11
         1400(a) in that this is the judicial district in which substantial part of the acts and
    12
    13   omissions giving rise to the claims occurred. Alternatively, venue is also proper

    14   pursuant to 28 U.S.C. § 1400(b) because the Defendants reside and have a regular
    15
         and established business in this judicial district.
    16
                                                PARTIES
    17
    18         5.        Plaintiff George Gutenberg (“Plaintiff or Gutenberg”) is an individual
    19
         and professional photographer residing in Palm Desert, California.
    20
               6.        Defendant Zillow, Inc. is a Washington corporation with its principal
    21
    22   place of business in Seattle, Washington.
    23         7.        Defendant Zillow Group Inc. was formed in 2014, following the
    24
         announcement of the planned merger of Zillow, Inc. and Trulia, Inc. (“Trulia”).
    25
    26   Zillow Group, Inc. is a Washington corporation, with its principal place of business

    27   in Seattle, Washington. Following the closing of the merger transaction on or about
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 3 of 9 Page ID #:3



     1   February 17, 2015, Zillow Group owns 100% of the stock of both Zillow, Inc. and
     2
         Trulia. On information and belief, Zillow, Inc. is currently a wholly owned
     3
         subsidiary of Zillow Group, which controls or has the power to control Zillow, Inc.
     4
     5         8.     For purposed of this complaint, Defendants Zillow Inc. and Zillow
     6   Group Inc. will be collectively referred to as “Zillow.”
     7
               9.     Zillow is registered with the Secretary of State to do business in
     8
     9   California, and maintains an office in California in this judicial district at 2600

    10   Michelson Drive, Irvine, CA 92612.
    11
               10.    Plaintiff is unaware of the true names and capacities of the Defendants
    12
    13   sued herein as DOES 1 through 25, inclusive, and for that reason, sues such

    14   Defendants under such fictitious names. Plaintiff is informed and believes and on
    15
         that basis alleges that such fictitiously named Defendants are responsible in some
    16
         manner for the occurrences herein alleged, and that Plaintiff’s damages as herein
    17
    18   alleged were proximately caused by the conduct of said Defendants. Plaintiff will
    19
         seek to amend the complaint when the names and capacities of such fictitiously
    20
         named Defendants are ascertained. As alleged herein, “Defendant” shall mean all
    21
    22   named Defendants and all fictitiously named Defendants.
    23         11.    For the purposes of this Complaint, unless otherwise indicated,
    24
         “Defendants” includes all agents, employees, officers, members, directors, heirs,
    25
    26   successors, assigns, principals, trustees, sureties, subrogates, representatives and

    27   insurers of Defendants named in this caption.
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 4 of 9 Page ID #:4



     1                                STATEMENT OF FACTS
     2
            Defendant Zillow’s Systematic Infringement of Real Estate Photographs
     3
               12.    Founded in 2004, Zillow owns and operates the largest real estate
     4
     5   website in the world, www.zillow.com (“Website”).
     6         13.    The core of Zillow’s Website is the “Living Database of All Homes,”
     7
         which includes individual detail pages for most of the individual homes in the
     8
     9   United States. These Home Detail Pages (“HDPs”) provide data such as sales

    10   history, number of rooms, and Zillow’s proprietary “Zestimate” calculation of the
    11
         property’s current market value.
    12
    13         14.    In many instances, the HDPs include exterior and/or interior

    14   photographs of the home at a particular address.
    15
               15.    The HDPs for properties currently listed for sale identify the sales
    16
         price, the listing agent, and other real estate agents in the area. On information and
    17
    18   belief, Zillow derives the great majority of its revenue by advertising local real
    19
         estate agents on these listings.
    20
               16.    On information and belief, Zillow obtains information on current real
    21
    22   estate listings in data feeds culled primarily from regional associations of brokers
    23   known as multiple listing services (“MLS”).
    24
               17.    MLSs are private databases of individual properties created and
    25
    26   maintained by real estate professionals -- primarily licensed real estate brokers -- to

    27   help their clients buy and sell real estate. The databases contain relevant
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 5 of 9 Page ID #:5



     1   information about current real estate listings including, in many instances,
     2
         photographs of listed properties.
     3
               18.    Typically, once a property is sold or otherwise taken off the market,
     4
     5   the information about the listing, including the photographs of the property, are no
     6   longer accessible through the MLS database.
     7
               19.    On information and belief, there are over 700 MLS systems across the
     8
     9   United States.

    10         20.    On information and belief, Zillow copies as many as five million
    11
         photographs per day through its hundreds of MLS feeds without verifying
    12
    13   copyright ownership of the copied photographs.

    14                    George Gutenberg is a Real Estate Photographer
    15
               21.    Gutenberg    is   a    professional   architectural   and   commercial
    16
         photographer, specializing in the photography of high-end luxury residential
    17
    18   properties and commercial buildings, as well as hospitality, restaurant, and retail
    19
         environments. His work has been featured in over 100 domestic and international
    20
         magazine covers.
    21
    22         22.    Typically, Gutenberg is hired by real estate agents as an independent
    23   contractor to photograph a property for a negotiated fee. Gutenberg retains the
    24
         copyright to all photographs taken of each property, and grants the real estate agent
    25
    26   a limited license to use the photographs for up to one-year purposes of marketing

    27   the property. The limited license allows the real estate agent to place the
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 6 of 9 Page ID #:6



     1   photographs on their website, in brochures, real estate magazines, and on the MLS.
     2
         The license expressly states that it is not transferrable and prohibits third party use
     3
         without permission from Gutenberg. Attached hereto as Exhibit A is a true and
     4
     5   correct copy of a typical licensing agreement between Gutenberg and a real estate
     6   agent.
     7
                  23.   In addition to marketing real estate, Gutenberg frequently licenses
     8
     9   individual photographs from his library for use in print and online publications, as

    10   well as for private, editorial, and commercial usage.
    11
                  24.   Gutenberg is the sole owner and author of a 543 photograph of various
    12
    13   real estate properties (“Images”), which are part of his larger library of architectural

    14   and interior design-type photographs.
    15
                  25.   Gutenberg has registered his Images with the United States Copyright
    16
         Office as group registrations. Attached hereto as Exhibit B is document containing
    17
    18   true and correct copies of Gutenberg’s Images as well as true and correct
    19
         registration information.
    20
                  26.   On or about March 2018, Gutenberg discovered that a number of his
    21
    22   Images were being used on Zillow’s Website. After a subsequent investigation,
    23   Gutenberg discovered that hundreds of his Images were being used on Zillow’s
    24
         HDP pages.
    25
    26            27.   Gutenberg had no record of issuing a license to Zillow or otherwise

    27   granting permission for Zillow to use any of the Images.
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 7 of 9 Page ID #:7



     1                            FIRST CAUSE OF ACTION
                                 COPYRIGHT INFRINGEMENT
     2
                                     17 U.S.C. § 101 et seq.
     3
               28.    Plaintiff incorporates by reference all of the above paragraphs of this
     4
     5   Complaint as though fully stated herein.
     6         29.    Plaintiff did not consent to, authorize, permit, or allow in any manner
     7
         the said use of Plaintiff’s unique and original Images by Defendants.
     8
     9         30.    Plaintiff is informed and believes and thereon alleges that said

    10   Defendants willfully infringed upon Plaintiff’s copyrighted Images in violation of
    11
         Title 17 of the U.S. Code, because, inter alia, Defendants knew or should have
    12
    13   known they did not have a legitimate license for the Images.

    14         31.    As a result of each and every Defendants’ violations of Title 17 of the
    15
         U.S. Code, Plaintiff is entitled to actual damages and profits pursuant to 17 U.S.C.
    16
         §504(b), or statutory damages in an amount up to $150,000.00 for each
    17
    18   infringement pursuant to 17 U.S.C. § 504(c).
    19
               32.    As a result of the Defendants’ violations of Title 17 of the U.S. Code,
    20
         the court in its discretion may allow the recovery of full costs as well as reasonable
    21
    22   attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendants.
    23         33.    Plaintiff is also entitled to injunctive relief to prevent or restrain
    24
         infringement of his copyright pursuant to 17 U.S.C. § 502.
    25
    26   ///

    27   ///
    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 8 of 9 Page ID #:8



     1                                   PRAYER FOR RELIEF
     2
               WHEREFORE, Plaintiff prays that judgment be entered against Defendants
     3
            • For an award of actual damages and disgorgement of all of Defendant’s
     4
     5         profits attributable to the infringement for the registered Works as provided
     6         by 17 U.S.C. § 504 in an amount to be proven or, in the alternative, at
     7
               Plaintiff’s election, an award for statutory damages against Defendant in an
     8
     9         amount up to $150,000.00 for each infringement pursuant to 17 U.S.C. §
    10         504(c), whichever is larger;
    11
            • For an order pursuant to 17 U.S.C. § 502(a) enjoining Defendants from any
    12
    13         further infringing use of any of Plaintiff’s Images;

    14      • For costs of litigation and reasonable attorney’s fees against Defendant
    15
               pursuant to 17 U.S.C. § 505;
    16
    17      • For an award of pre- and post-judgment interest; and

    18      • For any other relief the Court deems just and proper.
    19
         Dated: September 14, 2018                           Respectfully submitted,
    20
    21                                                 /s/ Mathew K. Higbee
                                                       Mathew K. Higbee, Esq.
    22                                                 Cal. Bar No. 241380
    23                                                 HIGBEE & ASSOCIATES
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    26                                                 Counsel for Plaintiff
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    28
	
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    Case 8:18-cv-01675-DOC-ADS Document 1 Filed 09/17/18 Page 9 of 9 Page ID #:9



     1                          DEMAND FOR A BENCH TRIAL
     2
               Plaintiff, George Gutenberg, hereby demands a bench trial in the above matter.
     3
         Dated: September 14, 2018                          Respectfully submitted,
     4
     5
                                                      /s/ Mathew K. Higbee
     6                                                Mathew K. Higbee, Esq.
     7                                                Cal. Bar No. 241380
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    11                                                Counsel for Plaintiff

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